                                                    THE HONORABLE MARY JO HESTON
 1                                                  CHAPTER 13
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                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
11                     WESTERN DISTRICT OF WASHINGTON AT TACOMA

12
      In re:                                       Case No.: 18-42558-MJH
13
      THUYDUNG D HUYNH,                            NOTICE OF DEFAULT
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                                         Debtor.
16
                                                   NOTICE
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               You are hereby notified that pursuant to the Order on the Trustee’s Motion to Dismiss
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     requiring strict compliance entered on May 10, 2019, you are in default pursuant to the terms of
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20   that order. Trustee intends to submit an ex parte order dismissing the case for consideration by

21   the Court on October 7, 2019 unless the default is cured. Failure to cure the default identified in

22   this notice by the above date may result in dismissal of the bankruptcy case without further

23   notice to you. A copy of the strict compliance order is included with this notice.
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                                                                                     Michael G. Malaier
                                                                             Chapter 13 Standing Trustee
                                                                                  2122 Commerce Street
     NOTICE OF DEFAULT                             -1                               Tacoma, WA 98402
                                                                                         (253) 572-6600
                                                DEFAULT
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 2          Pursuant to the Strict Compliance Order you were to timely make each plan payment

 3   that becomes due in the six months following entry of the strict compliance order.
 4          According to the Trustee’s records you have failed to make a full plan payment for June
 5
     2019, July 2019, August 2019 and September 2019 as required by the terms of the Strict
 6
     Compliance Order. Please immediately remit payment to the following address:
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 8          Chapter 13 Trustee
            PO Box 120
 9          Memphis, TN 38101-0746

10          If you do not cure the default within ten (10) days of the mailing date of this notice your
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     case may be dismissed without further notice to you.
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13          DATED this 23rd day of September, 2019 at Tacoma, Washington.

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            Mathew S. LaCroix, WSBA# 41847 for
16          Michael G. Malaier, Chapter 13 Trustee
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                                                                                     Michael G. Malaier
                                                                             Chapter 13 Standing Trustee
                                                                                  2122 Commerce Street
     NOTICE OF DEFAULT                           -2                                 Tacoma, WA 98402
                                                                                         (253) 572-6600
